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                                         UNITED STATES DISTRICT COURT
                                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                                 TAMPA DIVISION


        Terry E. Sears,                                    )
                                                           )
                          Plaintiff,                       )
                                                           )
                   vs.                                     )
                                                                     Case No. 8:12-CV-00288-T-33TGW
                                                           )
        Eduardo Rivero, et al.,                            )
                                                           )
                          Defendant.                       )
                                                           )

                   PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE GRIEVANCES AND
                                    DISCIPLINARY HISTORY

                   COMES NOW, Plaintiff, TERRY EUGENE SEARS, by and through the undersigned

        counsel, and moves this Honorable Court to enter an Order granting Plaintiff’s Motion in Limine

        to Exclude Grievances and Disciplinary History, and in support thereof states as follows:

             1. This lawsuit arises from an incident at Polk Correctional Institution (“PCI”) during which

                   Mr. Sears states that the correctional officers at PCI used excessive force upon him and

                   failed to intervene, causing damages.

             2. While incarcerated at PCI – and other facilities – Mr. Sears made a series of grievance

                   reports.

             3. Additionally, while incarcerated at PCI – and other facilities – Plaintiff was subject to

                   disciplinary proceedings.

             4. Federal Rule of Evidence 401 states, “Evidence is relevant if: (a) it has any tendency to

                   make a fact more or less probable than it would be without the evidence; and (b) the fact

                   is of consequence in determining the action.




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             5. Federal Rule of Evidence 403 states, “The court may exclude relevant evidence if its

                   probative value is substantially outweighed by a danger of one or more of the following:

                   unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

                   needlessly presenting cumulative evidence.

             6. Plaintiff moves to exclude references to any prior or subsequent grievances that he filed

                   within the correctional institution(s). The grievances Mr. Sears filed prior and subsequent

                   to the episode at issue are completely irrelevant. Any probative value of the grievances is

                   outweighed by their prejudicial effect on the Plaintiff.

             7. Plaintiff moves to exclude any and all of his disciplinary history within the correctional

                   institution(s), including any disciplinary history associated with the episode at issue. This

                   evidence is irrelevant and any probative value is outweighed by its prejudicial effect on the

                   Plaintiff. There is a danger that the disciplinary history, specifically from that from this

                   incident, would mislead the jury. The jury may be likely to substitute the disciplinary

                   history and disciplinary decisions with their own fact-finding function. An attempt by

                   Defendants to admit the disciplinary history is an attempt to put the Plaintiff on trial.

             8. For these reasons, any references to Plaintiff’s prior or subsequent grievances or

                   disciplinary history should be excluded from trial.

             WHEREFORE, the Plaintiff, TERRY EUGENE SEARS, respectfully requests that this

        Honorable Court enter an Order granting his Motion in Limine to Exclude Grievances and

        Disciplinary History.

                                  Certificate of Compliance with Local Rule 3.01(g)

                   Pursuant to Local Rule 3.01(g), the undersigned certifies that she has attempted to confer

        in good faith with counsel for Defendants regarding the relief requested herein. Defense counsel



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        was unavailable to confer, but Plaintiff’s counsel is filing the Motion in Limine on this date due to

        the limited time before the approaching jury trial. This Honorable Court’s Rulings will impact the

        length of trial and trial preparation. Plaintiff’s counsel intends to attempt to confer again with

        Defense counsel on the Motion on August 1, 2019, before the pre-trial conference.



          Dated: July 31, 2019                               Respectfully submitted,

                                                             /s/ Lauren D. Kerr ____________
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